Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 1 of 30 PageID: 16374



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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

   IN RE VALEANT                  Case No. 3:15-cv-07658
   PHARMACEUTICALS
   INTERNATIONAL, INC. SECURITIES Judge Michael A. Shipp
   LITIGATION                     Magistrate Judge Lois H. Goodman
                                           Judge Dennis M. Cavanaugh, U.S.D.J.
                                           (ret.)
                                           Special Master
   This Document Relates To:               TIMBER HILL LLC’S OBJECTIONS
                                           TO SETTLEMENT AND PLAN OF
   3:15-cv-07658-MAS-LHG                   ALLOCATION
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 2 of 30 PageID: 16375




                                                  Table of Contents

  I.     BACKGROUND .............................................................................................5

  II.    LEGAL STANDARD .....................................................................................8

         A.      Certification of a Settlement Class ........................................................8

         B.      Whether the Proposed Settlement and Corresponding Plan of
                 Allocation Are Fair, Reasonable and Adequate ..................................10

  III.   THE COURT SHOULD DENY FINAL APPROVAL ................................11

         A.      The Proposed Plan Of Allocation Is Not Fair, Reasonable Or
                 Adequate ..............................................................................................11

         B.      Lead Plaintiff Is Neither Adequate Nor Typical .................................18

  IV.    PROPOSED RESOLUTION .........................................................................22

  V.     CONCLUSION..............................................................................................23
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 3 of 30 PageID: 16376




                                                   Table of Authorities

  Cases

  Amchem Prods., Inc. v. Windsor,
       521 U.S. 591 (1997).................................................................................. 8, 20

  City of Detroit v. Grinnell Corp.,
         495 F.2d 448 (2d Cir. 1974) ..........................................................................10

  Dau v. Cephalon, Inc.,
        No. 99-CV-2439, 2000 WL 1469347 (E.D. Pa. Sept. 25, 2000) ............. 2, 16

  Deutschman v. Beneficial Corp.,
        841 F.2d 502 (3d Cir. 1988) ................................................................... 13, 15

  Dewey v. Volkswagen Aktiengesellschaft,
       681 F.3d 170 (3d Cir. 2012) ..................................................................... 9, 18

  Friedman v. Quest Energy Partners LP,
       261 F.R.D. 607 (W.D. Okla. 2009) .................................................................6

  Girsh v. Jepson,
        521 F.2d 153 (3d Cir. 1975) ..........................................................................10

  In re Allergan, Inc. Proxy Violation Securities Litig.
         No. SACV 14-2004-DOC (JCGx), 2015 WL 7352005, (C.D. Cal.
         Nov. 9, 2015) .................................................................................................16

  In re Cendant Corp. Litig.,
         264 F.3d 201 (3d Cir. 2001) ..........................................................................11

  In re Cmty. Bank of N. Va.,
         418 F.3d 277 (3d Cir. 2005) ........................................................................8, 9

  In re Computron Software, Inc. Sec. Litig.,
         6 F. Supp. 2d 313 (D.N.J. 1998) ....................................................................11

  In re Congoleum Corp.,
         426 F.3d 675 (3d Cir. 2005) ............................................................................9

  In re DVI Inc. Sec. Litig.,
         No. 2:03–CV–05336–LDD, (Ed. Pa. June 12, 2015) ....................................20
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 4 of 30 PageID: 16377




  In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prods. Liab. Litig.,
         55 F.3d 768 (3d Cir. 1995) ........................................................... 9, 10, 12, 19

  In re Initial Pub. Offering Sec. Litig.,
         226 F.R.D. 186 (S.D.N.Y. 2005) ...................................................................23

  In re Nat'l Football League Players' Concussion Injury Litig.,
         307 F.R.D. 351 (E.D. Pa. 2015),
         aff'd, 821 F.3d 410 (3d Cir. 2016) ...................................................................9

  In re New Jersey Tax Sales Certificates Antitrust Litig,
         No. 12-1893 (MAS) (TJB), 2016 WL 5844319 (D.N.J. Oct. 3, 2016) .........11

  In re OCA, Inc. Sec. & Derivative Litig.,
         No. 05-2165, 2009 WL 512081 (E.D. La. Mar. 2, 2009) ..............................14

  In re Pet Food Prods. Liab. Litig.,
         629 F.3d 333 (3d Cir. 2010) ..........................................................................11

  In re Warfarin Sodium Antitrust Litig.,
        391 F.3d 516 (3d Cir. 2004) ............................................................................9

  In re WorldCom, Inc. Sec. Litig.,
        388 F. Supp. 2d 319 (S.D.N.Y. 2005) ...........................................................23

  McDonough v. Toys “R” Us, Inc.,
      80 F. Supp. 3d 626 (E.D. Pa. 2015) ........................................................ 14, 22

  Ortiz v. Fibreboard Corp.,
         527 U.S. 815 (1999).......................................................................................18

  Valley Drug Co. v. Geneva Pharm., Inc.,
        350 F.3d 1181 (11th Cir. 2003) .....................................................................19

  Varacallo v. Mass. Mut. Life Ins. Co.,
       226 F.R.D. 207 (D.N.J. 2005) .......................................................................10

  Walsh v. Great Alt. & Pac. Tea Co.,
       726 F.2d 956 (3d Cir. 1983) ..........................................................................18

  Statutes

  15 U.S.C. § 78u ........................................................................................................22


                                                             iii
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 5 of 30 PageID: 16378




  Rules

  Fed. R. Civ. P. 23 ............................................................................................ 7, 8, 10

  Other Authorities

  Manual for Complex Litigation § 21.61 (4th Ed. 2004) ............................................8

  Newberg on Class Actions § 3:58 (5th ed.)). .............................................................9




                                                            iv
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 6 of 30 PageID: 16379




        Pursuant to Federal Rule of Civil Procedure 23(e)(5)(A), and the order

  granting preliminary approval of the class action settlement entered by the Special

  Master and adopted by Magistrate Judge Lois Goodman (Doc. Nos. 510, 515),

  Plaintiff and absent Class member Timber Hill respectfully objects to the proposed

  Settlement and Plan of Allocation in the above-captioned litigation and hereby gives

  notice of its intent to appear at the final approval hearing. As discussed below, the

  proposed Plan of Allocation suffers from two core deficiencies that render it unfair,

  unreasonable and inadequate.

        First, the proposed Plan of Allocation gives preferential treatment to Valeant

  Common Stock and specified Valeant Debt Investors at the expense of Valeant

  Options Investors by allowing Valeant Common Stock and Valeant Debt Investors

  to share in the Net Settlement Fund on a pro rata basis based on their allowed claim

  amounts while the recovery of Valeant Options Investors is limited to a separate,

  arbitrarily-allocated and capped fund. Under the proposed Plan of Allocation: “(a)

  at least 95% of the Net Settlement Fund will be allocated collectively to Valeant

  common stock and the specified Valeant debt securities; and (b) no more than 5%

  of the Net Settlement Fund will be allocated to options on Valeant common stock.”

  Doc. No. 539-5 at 101. Lead Plaintiff offers no justification for not allowing Valeant

  Options Investors to share in the recovery on a pro rata basis with all other investors,

  just as it offers no support for the wholly arbitrary 5% allocation itself — an
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 7 of 30 PageID: 16380




  allocation that is only about half of the Valeant Options Investors’ pro rata share of

  the overall recovery. To make matters worse, the putative allocation has a “cap”

  with a clawback feature such that any portion of the 5% allocation that is not paid

  out initially to Valeant Options Investors is added back into the pro rata pool shared

  by Valeant Common Stock and Debt Investors.

        Second, unlike other Class members, the Plan of Allocation prevents Valeant

  Options Investors from sharing in the Net Settlement Fund based on their insider-

  trading claims pursuant to Section 20A of the Securities Exchange Act of 1934

  (meritorious claims that are nevertheless released by the Settlement) in order to

  allow similarly situated Common Stock Investors to reap all of the recovery on those

  same claims.1

        The inequities in the Plan of Allocation demonstrate that Lead Plaintiff failed

  to adequately represent the interests of Valeant Options Investors during the

  1
    The law is clear that options investors have standing to recover insider-trading
  damages under Section 20A against defendants that trade contemporaneously in a
  company’s common stock as is the case here. Dau v. Cephalon, Inc., No. 99-CV-
  2439, 2000 WL 1469347, at *5 (E.D. Pa. Sept. 25, 2000) (contemporaneous
  purchasers of stock have standing to bring § 20A claim against insider purchase of
  options). Moreover, options investors in other Section 20A cases have been
  allocated significant amounts on par with their class-wide provable damages. See In
  re Allergan, Inc. Proxy Violation Securities Litig. (“In re Allergan”), Case No. 8:14-
  cv-04004 (DOC) (KESx), Doc. Nos. 558, 560, 562, 563, 564, 570, 571 (options
  investors, who were permitted to prosecute their own claims (including Section 20A
  claims) because of conflicts similar to those at issue here, recovered $40m —
  approximately 13.7% of the total settlement consideration paid to all investors of
  $290 million).


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Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 8 of 30 PageID: 16381




  negotiation of the Settlement and preparation of the Plan of Allocation — despite

  this Court’s prior warning to Lead Plaintiff that Timber Hill’s motion in opposition

  to consolidation had placed Lead Plaintiff on notice of the potential conflicts that

  now taint the proposed Plan of Allocation. Doc. No. 392 at 11 (“Given that Timber

  Hill has raised this issue now, Timber Hill’s motion has the salutary effect of putting

  the Lead Plaintiff and the Court on notice that this issue may arise in the future.”).

  The class certification requirements of Fed. R. Civ. P. 23(a)(4) – which require

  heightened scrutiny in the settlement-only context – have thus not been met and,

  accordingly, Timber Hill respectfully requests that the Court deny final approval of

  the Settlement. In the event the Court grants final approval, Timber Hill respectfully

  requests that the Court disapprove the Plan of Allocation unless it is modified by:

        (i)    Permitting Valeant Common Stock Investors, Investors in

               Certain Specified Debt Securities and Valeant Options Investors

               to share pro rata in the Net Settlement Fund (thereby eliminating

               the arbitrary allocation and cap on the recovery by Valeant

               Options Investors under the proposed Plan of Allocation and

               assuring that all investors share the recovery on a pro rata basis);

        (ii)   Allowing      Valeant     Options      Investors     that    traded

               contemporaneously opposite the insider trading defendants to




                                            3
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 9 of 30 PageID: 16382




                receive the same Section 20A enhancement as Valeant Common

                Stock Investors; and

        (iii)   Making those additional changes reflected on the redlined

                version of the proposed Plan of Allocation, attached hereto.

        The District Court recently noted that Timber Hill has standing to object

  pursuant to Federal Rule of Civil Procedure 23(e)(5)(A) as an absent Class member,

  in connection with ruling on Timber Hill’s objection to the Special Master’s Order

  and the Preliminary Approval Order (Doc. No. 544), also submitted as Ex. 2 to

  Declaration of Andrew J. Entwistle in Support of Timber Hill LLC’s Objections to

  Settlement and Plan of Allocation (“Entwistle Decl.”). See also, Timber Hill LLC v.

  Valeant Pharm. Int’l, Inc., No. 18-cv-10246 (D.N.J.), Doc. No. 1 (and the

  certification annexed thereto — all demonstrating Timber Hill’s membership in the

  Settlement Class).2 Timber Hill notes that its objection applies to and is made on

  behalf of all Valeant Options Investors. At the hearing on final approval, Timber

  Hill may call Michael A. Marek, CFA and introduce the materials attached to the

  Declaration of Andrew J. Entwistle (including the Declaration of Michael A. Marek,

  CFA), filed concurrently herewith, and reserves its right to present additional

  evidence in response to Lead Plaintiff’s further submissions.



  2
    See also Entwistle Decl., Ex. 5, which demonstrates Timber Hill’s membership in
  the Settlement Class.

                                            4
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 10 of 30 PageID: 16383




   I.    BACKGROUND

         Timber Hill filed a class action complaint (the “Timber Hill action”) on June

   6, 2018, on behalf of Valeant Pharmaceuticals International, Inc. Options Investors,

   which collectively suffered billions of dollars in losses as a result of violations of

   Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 by Valeant and

   certain of its senior executives. Timber Hill LLC v. Valeant Pharm. Int’l, Inc., No.

   18-cv-10246 (D.N.J.). Timber Hill sought to represent a class composed of “all

   persons or entities that purchased call options on Valeant common stock and/or sold

   put options on Valeant common stock during the class period and were damaged

   thereby” because such Valeant Options Investors were not expressly included in the

   Valeant Common Stock and Debt action. See No. 18-10246, Doc. No. 1 at ¶ 444.

   To protect and advance the interests of Valeant Options Investors, Timber Hill spent

   months investigating potential recovery strategies which included extensive

   consultation with options damages experts, the development of a discrete damages

   model for Valeant options and examination of market efficiency as it relates to

   options. The Timber Hill action was automatically consolidated with the above-

   captioned action. Doc Nos. 317, 318.

         Timber Hill timely sought relief from the Consolidation Order on the ground

   that Lead Plaintiff and its counsel were unlikely to adequately “protect the interests

   of derivatives traders due to potentially conflicting positions regarding, among other



                                             5
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 11 of 30 PageID: 16384




   things, the allocation of any recovery.” Doc. No. 322-1 at 3. In its motion, Timber

   Hill specifically noted that should the matter proceed to summary judgment and trial,

   calculation of the options investors’ damages would “likely require different experts

   using different methodologies than those employed by” Lead Plaintiff. Id. Timber

   Hill also explained that options investors would seek to recover from “the common

   set of defendants as the purchasers of Valeant equity securities and senior notes, and

   ‘a single lead plaintiff will be unable to have undivided loyalties to vigorously

   pursue recovery on behalf of both classes due to the inherent conflict that is caused

   by the competition for the same limited funds for recovery.’” Id. at 4 (citing

   Friedman v. Quest Energy Partners LP, 261 F.R.D. 607, 610 (W.D. Okla. 2009)).

         In its opposition to the motion for relief from the consolidation order, Lead

   Plaintiff maintained that it would represent the interests of Valeant Options Investors

   and assured the Court that it was “more than adequate to represent all purchasers of

   Valeant securities, including those who traded in options.” Doc. No. 323 at 22; Doc.

   No. 329-1 at 1.

         The Court acknowledged that “a failure to protect the rights of derivatives

   traders will likely impact this litigation at later stages.” Entwistle Decl., Ex. 1 (Doc.

   No. 392) at 11-12.3 The Court then observed: “Given that Timber Hill has raised



   3
     Valeant Options Investors were referred to as “derivatives traders” in the
   consolidation proceedings.


                                              6
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 12 of 30 PageID: 16385




   this issue now, Timber Hill’s motion has the salutary effect of putting the Lead

   Plaintiff and the Court on notice that this issue may arise in the future.” Id. at 11.

         Even though Lead Plaintiff was expressly put on notice by Timber Hill and

   the Court of the potential for inadequate representation of the interests of derivative

   securities investors, Lead Plaintiff nevertheless devised an unfair Plan of Allocation

   that arbitrarily discriminates against Valeant Options Investors by unjustly imposing

   a cap limiting their recovery while all other investors share in the Net Settlement

   Fund proceeds pro rata. This differential treatment is exactly the type of harm the

   Court anticipated might occur and warned Lead Plaintiff to avoid. Lead Plaintiff did

   not inadvertently overlook the interests of Valeant Options Investors. It was well

   aware of the potential for conflict, and instead of developing a Plan of Allocation

   that treated Valeant Options Investors fairly and on the same terms as other Valeant

   Investors, Lead Plaintiff crafted a Plan of Allocation that unfairly favors Valeant

   Common Stock and Debt Investors to the detriment of Valeant Options Investors.

   This differential treatment is all the more egregious when one considers it is easily

   cured by simply allowing Valeant Options Investors to share in the recovery on a

   pro rata basis with all Class members — the same treatment afforded all other

   investors under the proposed Plan of Allocation.




                                              7
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 13 of 30 PageID: 16386




   II.   LEGAL STANDARD

         In order to give approval to a pre-certification class action settlement, the

   Court must find: (1) the proposed settlement meets the requirements for class

   certification pursuant to Fed. R. Civ. P. 23(a); and (2) the settlement is fair,

   reasonable and adequate pursuant to Fed. R. Civ. P. 23(e)(2). Where, as here, the

   settlement was negotiated prior to class certification, exceptional judicial scrutiny is

   warranted.

         A.     Certification of a Settlement Class

         Class action settlements reached prior to certification present “special

   problems” that implicate significant due process rights of absent class members. In

   re Cmty. Bank of N. Va., 418 F.3d 277, 299 (3d Cir. 2005). Rule 23(a)’s provisions

   should therefore be given “heightened” scrutiny in the settlement class context.

   Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997). “[T]he judge must adopt

   the role of a skeptical client and critically examine the class certification elements,

   the proposed settlement terms, and procedures for implementation.” Manual for

   Complex Litigation § 21.61 (4th ed. 2004). Where, as here, the requirements of class

   certification were never litigated in an adversarial context, the Court must carefully

   scrutinize the negotiation processes driving pre-certification settlements to ensure

   adequacy of representation. See Cmty. Bank of N. Va., 418 F.3d at 307-08; In re

   Gen. Motors Corp. Pick-Up Truck Fuel Tank Prods. Liab. Litig. (“Gen. Motors”),



                                              8
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 14 of 30 PageID: 16387




   55 F.3d 768, 796-97 (3d Cir. 1995); see also, In re Congoleum Corp., 426 F.3d 675,

   693 (3d Cir. 2005) (quoting Cmty. Bank of N. Va., 418 F.3d at 318).

         With regard to certification of a settlement class under Rule 23, the adequacy

   prong of Rule 23(a)(4) requires two steps. “First, the adequacy inquiry ‘tests the

   qualifications of the counsel to represent the class.’” In re Warfarin Sodium

   Antitrust Litig., 391 F.3d 516, 532 (3d Cir. 2004). The second component of the

   adequacy inquiry seeks “to uncover conflicts of interest between named parties and

   the class they seek to represent.” Id. “Not every distinction between a class member

   and a class representative renders the representative inadequate.” In re Nat'l Football

   League Players' Concussion Injury Litig., 307 F.R.D. 351, 376 (E.D. Pa. 2015), aff'd,

   821 F.3d 410 (3d Cir. 2016). However, “[a] fundamental conflict exists where some

   [class] members claim to have been harmed by the same conduct that benefitted

   other members of the class.” Id. (citing Dewey v. Volkswagen Aktiengesellschaft,

   681 F.3d 170, 183 (3d Cir. 2012) (alteration in original) (internal quotation marks

   omitted). This occurs when, “by maximizing their own interests, the putative

   representatives would necessarily undercut the interests of another portion of the

   class.” Id. (citing Newberg on Class Actions § 3:58 (5th ed.)). Benefits awarded to

   some class members, but not others, without adequate justification may indicate that

   other class members were inadequately represented. Id. (citing Gen. Motors, 55

   F.3d at 797).



                                             9
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 15 of 30 PageID: 16388




         B.     Whether the Proposed Settlement and Corresponding Plan of
                Allocation Are Fair, Reasonable and Adequate

         Under Federal Rule of Civil Procedure 23(e)(2), a Court may approve the

   settlement of a class action “only after a hearing and only on finding that it is fair,

   reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2). The factors that are relevant to

   the determination of whether a settlement is “fair, reasonable, and adequate” include:

                (1) the complexity, expense and likely duration of the
                litigation; (2) the reaction of the class to the settlement; (3)
                the stage of the proceedings and the amount of discovery
                completed; (4) the risks of establishing liability; (5) the
                risks of establishing damages; (6) the risks of maintaining
                the class action through the trial; (7) the ability of the
                defendants to withstand a greater judgment; (8) the range
                of reasonableness of the settlement fund in light of the best
                possibly recovery; [and] (9) the range of reasonableness of
                the settlement fund to a possible recovery in light of all the
                attendant risks of litigation.

         Girsh v. Jepson, 521 F.2d 153, 157 (3d Cir. 1975) (quoting City of Detroit v.

   Grinnell Corp., 495 F.2d 448 (2d Cir. 1974)). “This nine-factor test requires this

   Court to conduct both ‘a substantive inquiry into the terms of the settlement relative

   to the likely rewards of litigation’ and ‘a procedural inquiry into the negotiating

   process.’” Varacallo v. Mass. Mut. Life Ins. Co., 226 F.R.D. 207, 235 (D.N.J. 2005),

   citing Gen. Motors, 55 F.3d at 796. “The settling parties bear the burden of proving

   that the Girsh factors weigh in favor of approval of the settlement.” In re New Jersey

   Tax Sales Certificates Antitrust Litig, No. 12-1893 (MAS) (TJB), 2016 WL




                                              10
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 16 of 30 PageID: 16389




   5844319, at *6 (D.N.J. Oct. 3, 2016) (quoting In re Pet Food Prods. Liab. Litig., 629

   F.3d 333, 350 (3d Cir. 2010)).

          The proposed Plan of Allocation of Settlement proceeds among Class

   members must also be approved as part of the Settlement. The same standards that

   apply to approval of the Settlement as a whole also apply to the Plan of Allocation

   — i.e. the proposed Plan of Allocation must be fair, reasonable and adequate. In re

   Cendant Corp. Litig., 264 F.3d 201, 248 (3d Cir. 2001); see also, In re Computron

   Software, Inc. Sec. Litig., 6 F. Supp. 2d 313, 321 (D.N.J. 1998) (citations omitted)

   (approving plan of allocation where all class members were treated “in an identical

   matter”).

   III.   THE COURT SHOULD DENY FINAL APPROVAL

          A.    The Proposed Plan Of Allocation Is Not Fair, Reasonable Or
                Adequate

          The Proposed Plan of Allocation is unfair to Valeant Options Investors in two

   fundamental ways.      First, the proposed Plan of Allocation gives preferential

   treatment to Valeant Common Stock Investors and specified Valeant Debt Investors

   at the expense of Valeant Options Investors by allowing Valeant Common Stock

   Investors and Valeant Debt Investors to share in the Net Settlement proceeds on a

   pro-rata basis while the recovery of Valeant Options Investors is limited to a

   separate, arbitrarily-capped fund. Under the proposed Plan of Allocation: “(a) at

   least 95% of the Net Settlement Fund will be allocated collectively to Valeant


                                            11
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 17 of 30 PageID: 16390




   common stock and the specified Valeant debt securities; and (b) no more than 5%

   of the Net Settlement Fund will be allocated to options on Valeant common stock.”

   Doc. No. 539-5 at 101. Lead Plaintiff offers no justification for not allowing Valeant

   Options Investors to share in the recovery on a pro rata basis with all other investors,

   just as it offers no support for the wholly arbitrary 5% allocation itself — an

   allocation that is only about half of the Valeant Options Investors’ pro rata share of

   the recovery. To make matters worse, the putative “cap” has a clawback feature

   such that any portion of the 5% allocation that is not paid out initially to Valeant

   Options Investors is added back into the pro rata pool shared by Valeant Common

   Stock and Debt Investors.

         Second, the proposed Plan of Allocation inexplicably extinguishes, for no

   consideration and without reason or cause, the valid Section 20A insider-trading

   claims of Valeant Options Investors that transacted contemporaneously opposite the

   insider trading defendants all while providing that similarly situated Valeant

   Common Stock Investors share in the insider-trading enhancement. Lead Plaintiff

   has, therefore, proposed an unfair Settlement that offers considerably more value to

   the Valeant Common Stock and Debt Investors than to Valeant Options Investors —

   thereby effectively “trading the claims of the latter group away in order to enrich the

   former group.” Gen. Motors, 55 F.3d at 797. This result is directly contrary to the

   due process considerations underlying Rule 23 and simply may not stand.



                                             12
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 18 of 30 PageID: 16391




         Lead Plaintiff provides no expert or other support for: excluding Valeant

   Options Investors from sharing pro rata with all other investors in the Net Settlement

   Fund; excluding Valeant Options Investors from sharing in the Section 20A

   recovery; creating a separate arbitrary allocation for Valeant Options Investors;

   arbitrarily setting the allocation at 5%; or creating a cap on such allocation with a

   clawback feature to return undistributed funds to the pro rata pool being shared by

   Valeant Common Stock and Debt Investors. Simply stated, the Motion for Final

   Approval is bereft of any factual, legal or expert support for why it is fair and

   reasonable to treat the claims of Valeant Options Investors differently from Common

   Stock and Debt Investors who share pro ratably in all of the Settlement proceeds.4

         As to the imposition of an arbitrary allocation and cap, courts in this Circuit

   and elsewhere have long recognized that options investors stand on equal footing

   with common stock investors with respect to Exchange Act claims and, accordingly,

   should be treated alike and share in the Net Settlement Fund on a pro rata basis.

   Deutschman v. Beneficial Corp., 841 F.2d 502, 507 (3d Cir. 1988) (“We are not

   persuaded that the difference between trading in the two types of securities should


   4
     Ironically, the expert affidavit submitted in support of Lead Plaintiff’s Class
   Certification motion actually argues against the disparate treatment of Valeant
   Options Investors insofar as it concludes the Valeant Options Investors traded in an
   efficient market, traded securities with a readily determinable value which was
   derivable from the price of Valeant Common Stock and Debt and that those investors
   had the same types of claims as Valeant Common Stock and Debt Investors. Doc.
   No. 539-12 (Feinstein Decl. at 19-21, 29-30, 33-34, 67-70).

                                            13
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 19 of 30 PageID: 16392




   lead to different treatment.”). Where there is “no evidentiary justification in the

   record” for disparate recoveries among class members, funds should be distributed

   on a pro rata basis. McDonough v. Toys “R” Us, Inc., 80 F. Supp. 3d 626, 648 (E.D.

   Pa. 2015) (revising plan of allocation to distribute settlement funds on a pro rata

   basis because there was “no evidentiary justification in the record” for disparate

   recoveries among subclasses). See also In re OCA, Inc. Sec. & Derivative Litig.,

   No. 05-2165, 2009 WL 512081, at *6 (E.D. La. Mar. 2, 2009) (approving a plan of

   allocation that specified: “[t]o the extent that class members’ claims exceed the Net

   Settlement Fund, each claimant will be compensated on a pro rata basis according

   to the claimants’ calculated loss under the allocation plan.”).

         In fact, Lead Plaintiff’s description of the Plan of Allocation in the final

   approval papers appears to acknowledge that a pro rata distribution is appropriate,

   while omitting any discussion of the cap on recovery for Valeant Options Investors:

   “The Plan of Allocation treats the Class equitably by providing that each Class

   Member that properly submits a valid Proof of Claim and Release form will receive

   a pro rata share of the monetary relief. It too is fair, reasonable, and adequate, and

   should be approved.” Doc. No. 539-1 at 3-4. In fact, Lead Plaintiff makes only a

   passing reference to the cap in a declaration submitted in support of final approval,




                                             14
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 20 of 30 PageID: 16393




   noting that the cap is “consistent with options caps used in other securities class

   action settlements.” Doc. No. 539-3 at 10.5

         In this regard, the Plan of Allocation is wholly at odds with the terms of the

   Stipulation of Settlement itself which, in the words of Lead Counsel provides “that

   each Class member that properly submits a valid Proof of Claim and Release form

   will receive a pro rata share of the monetary relief based on the terms of the Plan of

   Allocation.” See, Doc. No. 539-1 at 35. Nowhere does the Stipulation of Settlement

   provide that all Settlement Class members will share in the Settlement proceeds on

   a pro rata basis except Valeant Options Investors. Plainly stated, the differential

   treatment of Valeant Options Investors is a construct of Lead Plaintiff and Lead

   Counsel that was never bargained for by Valeant Options Investors, that is without

   support in law, fact or equity and that is wholly contrary to the requirements of Rule

   23 and applicable Third Circuit law.

         With respect to the Section 20A insider-trading claims of Valeant Options

   Investors, the law is quite clear that Valeant Options Investors have the same insider-

   trading claims against defendants that trade contemporaneously in common stock as

   the Valeant Common Stock Investors. Deutschman 841 F.2d at 504 (“holders of

   option contracts are susceptible to two separate types of deceptive practices: insider


   5
     The single case cited in support by Lead Plaintiff in that context is wholly
   unavailing insofar as no interested party objected to the plan of allocation and the
   court’s order does not indicate that it gave the issue any special scrutiny.

                                             15
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 21 of 30 PageID: 16394




   trading and affirmative misrepresentation.”); Dau, 2000 WL 1469347, at *5

   (contemporaneous purchasers of stock have standing to bring § 20A claim against

   insider purchase of options); In re Allergan, Inc. Proxy Violation Securities Litig.

   No. SACV 14-2004-DOC (JCGx), 2015 WL 7352005, at *9 (C.D. Cal. Nov. 9,

   2015) (same). Of course, in In re Allergan, the Court allowed the claims of options

   investors to proceed separately from the claims of common stock investors because

   of obvious conflicts between the groups of investors in that case, ultimately

   approving settlement of Section 20A and Section 10(b) claims by options holders in

   a separate settlement of those claims that represented more than 13.7% of the total

   recoveries by all investors in the related litigations. See In re Allergan, Inc. Proxy

   Violation Securities Litig., Case No. 8:14-cv-02004 (DOC) (KESx), Doc. Nos. 558,

   560, 562, 563, 564, 570, 571. In this regard, Lead Plaintiff offers no basis on which

   to deprive Valeant Options Investors from sharing in the Section 20A enhancement

   pro rata with similarly situated Valeant Common Stock Investors, much less any

   basis to completely extinguish the Section 20A claims of Valeant Options Investors

   under the proposed Plan of Allocation.6




   6
     Lead Plaintiff purports to give Defendants releases of the Valeant Options
   Investors’ Section 20A claims despite the fact that the proposed Plan of Allocation
   deprives Valeant Options Investors of any consideration for those releases. Doc.
   No. 539-5 at 115-16.

                                             16
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 22 of 30 PageID: 16395




          Leaving aside that the only wholly equitable solution is for all investors to

   share on a pro rata basis, it is also worth noting that the putative allocation appears

   to be wholly arbitrary as it bears no relationship to the damages at issue here. Timber

   Hill’s calculation of aggregate Class-wide damages for Common Stock, Debt and

   Options Investors based on Lead Plaintiff’s own Plan of Allocation submitted in

   connection with its Objection to Preliminary Approval (and uncontested by Lead

   Plaintiff), demonstrates total options damages of $3,765,590,117; (ii) total debt

   damages of $3,857,171,767; and (iii) total common stock damages of

   $32,064,194,203, for total aggregate Class-wide damages under the Plan of

   Allocation or all three groups of investors of $39,686,956,087. See Doc No. 517;

   Entwistle Declaration Ex. 4, Marek Decl. at ¶¶ 11-19. Thus, if Lead Plaintiff had

   based the allocation on the Valeant Options Investors’ actual share of aggregate

   Class-wide damages Valeant Options Investors the cap would have been 9.49% not

   5%.7


   7
     Even changing the allocation to 9.49% does not solve the problem of course
   because it is almost always the case that the claims rate in securities cases is less
   than 100% under even the most robust notice and claims programs. As a result,
   claimants sharing on a pro rata basis often have a greater recovery per share or unit
   than is reflected on the Notice of Settlement. However, under a cap such as that
   here, claimants are limited in their recovery with any unclaimed funds being clawed
   back to increase the uncapped pro rata pool for Common Stock and Debt Investors
   rather than to Options claimants in the pool. If the allocation was increased to 9.49%,
   the clawback feature was eliminated and Valeant Options Investors with Section
   20A claims receive the same Section 20A enhancement to their recovery as Valeant


                                             17
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 23 of 30 PageID: 16396




         “The Court’s principal obligation is simply to ensure that the fund distribution

   is fair and reasonable as to all participants in the fund.” Walsh v. Great Alt. & Pac.

   Tea Co., 726 F.2d 956, 964 (3d Cir. 1983). Here, nothing justifies the disparate

   treatment of the Valeant Options Investors. Because the Plan of Allocation does not

   satisfy the requirements of Rule 23, the Court should deny Lead Plaintiff’s motion

   for final approval and should not approve the Plan of Allocation.

         B.     Lead Plaintiff Is Neither Adequate Nor Typical

         The inequity of the Plan of Allocation should also preclude the Court from

   certifying a settlement class that includes both Valeant Common Stock and Debt

   Investors and Valeant Options Investors under Lead Plaintiff’s sole leadership. The

   disparate treatment of Valeant Options Investors demonstrates that Lead Plaintiff

   has not adequately represented the interests of Valeant Options Investors and is not

   inclined to do so. Ortiz v. Fibreboard Corp., 527 U.S. 815, 856 (1999) (“class

   settlements must provide structural assurance of fair and adequate representation for

   the diverse groups and individuals affected”) (citations omitted); Dewey, 681 F.3d

   at 184 (“A conflict concerning the allocation of remedies amongst class members




   Common Stock Investors, then Valeant Options Investors would be equitably treated
   here. While Timber Hill believes it is far simpler to simply treat everyone on a pro
   rata basis, it has no objection if the Court determines to increase the allocation to
   9.49%, eliminate the clawback and give Valeant Options Investors the 20A
   enhancment.

                                            18
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 24 of 30 PageID: 16397




   with competing interests can be fundamental and can thus render a representative

   plaintiff inadequate.”) (citation omitted).

         Lead Plaintiff’s failure to devise a Plan of Allocation that would treat Valeant

   Options Investors fairly is particularly concerning in light of the parties’ briefing on

   the motion for relief from the consolidation order. Lead Plaintiff was aware of the

   potential for conflict by both the briefing and this Court’s specific statement that

   Timber Hill’s motion had placed Lead Plaintiff on notice of the potential conflicts.

   Lead Plaintiff disregarded the Court’s clear warning by devising a Plan of Allocation

   that differentially treated Valeant Options Investors to the clear benefit of Valeant

   Common Stock and Debt Investors. While Lead Plaintiff could have easily proposed

   a plan of allocation that distributed the Net Settlement Fund to all Valeant investors

   on a pro rata basis, the proposed Plan of Allocation creates antagonism within the

   Class, directly impacting the question of adequate representation. See Gen. Motors,

   55 F.3d at 800 (remanding order granting final approval because, inter alia, the

   settlement agreement created antagonism within the class). Because the conflict

   relates to the distribution of Settlement funds, the intra-class conflict is fundamental

   and prevents Lead Plaintiff from adequately representing the Class, which should

   bar certification of a Settlement Class. See Valley Drug Co. v. Geneva Pharm., Inc.,

   350 F.3d 1181, 1190, 1194 (11th Cir. 2003) (finding that failure to address whether




                                             19
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 25 of 30 PageID: 16398




   wholesalers had fundamental conflict with the remainder of the class was an abuse

   of discretion).

         Lead Plaintiff did not address this intra-class conflict in its Motion for Final

   Approval (despite the fact it was also raised in Timber Hill’s Objection to

   Preliminary Approval. Doc. No. 517 at 10-12). The cases Lead Plaintiff cites to

   demonstrate adequacy are both unavailing and actually support Timber Hill’s

   position. In both cases, the courts certified a class of investors of different types of

   securities and approved plans of allocation that distributed the net settlement fund

   on a pro rata basis. See Entwistle Decl., Ex. 6, In re DVI Inc. Sec. Litig., No. 2:03–

   CV–05336–LDD, Doc. No. 1003-4 (Ed. Pa. June 12, 2015) (approving a plan of

   allocation that distributed the funds on a pro rata basis, with no arbitrary cap).

         In Amchem, the Supreme Court affirmed the Third Circuit’s determination

   that certification of a settlement class was improper on grounds of inadequate

   representation where the settlement itself showed intra-class disparities, noting the

   need for “structural assurance of fair and adequate representation” when groups of

   claimants have competing interests. Amchem Prods., Inc. v. Windsor, 521 U.S. 591,

   610, 627-28 (1997) (observing that the settlement at issue made “important

   judgments on how recovery is to be allocated among different kinds of plaintiffs,

   decisions that necessarily favor some claimants over others.”). Here, too, the

   disparate treatment of Class members should bar certification of a Settlement Class



                                             20
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 26 of 30 PageID: 16399




   that includes both Common Stock and Debt Investors and Valeant Options Investors

   under Lead Plaintiff’s sole leadership.

         The Notice distributed to Class members is also defective and further

   demonstrates how Counsel for Lead Plaintiff is favoring the interests of Valeant

   Common Stock and Debt Investors over Valeant Options Investors. There are

   references in the Notice to the expected recovery for Common Stock Investors, but

   no mention of expected recovery for Valeant Options Investors.             The Notice

   provides: “Based on Lead Plaintiff’s estimate of the number of Valeant Securities

   eligible to recover, the average distribution under the Plan of Allocation is roughly

   $2.13 per common share, before deduction of any taxes on the income earned on the

   Settlement Fund, Notice and Administration Expenses, and attorneys’ fees and

   expenses (including any awards to Plaintiffs) as determined by the Court.” Doc. No.

   539-5 at 93. It also details that “[t]he requested attorneys’ fees, charges and expenses

   amount to an average cost of approximately $0.28 per common share.” Doc. No.

   539-5 at 94-95.8

         Not only does the failure to provide an estimated recovery for Options

   Investors demonstrate Lead Plaintiff’s disparate treatment of Options Investors, it



   8
     The lack of any reference to attorneys’ fees and costs allocated to options
   recoveries suggests Lead Counsel does not intend to take a fee on such amounts. In
   any event, in the absence of notice to the Class, no such allocation would be
   appropriate.

                                             21
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 27 of 30 PageID: 16400




   violates the settlement notice requirements dictated by the PSLRA. Under the

   PSLRA, every settlement notice must include a statement explaining a plaintiff's

   recovery: “The amount of the settlement proposed to be distributed to the parties to

   the action, determined in the aggregate and on an average per share basis.” 15 U.S.C.

   § 78u–4(a)(7)(A). The notice must also include a statement of “the average amount

   of damages per share that would be recoverable if the plaintiff prevailed on each

   claim alleged.” 15 U.S.C. § 78u–4(a)(7)(B) (emphasis added). The Notice here only

   specifies damages on a “per common share” basis and leaves out the expected

   recovery for Valeant Options Investors. As with the Plan of Allocation, Lead

   Plaintiff provides no reason why it provided this estimate only for Common Stock

   Investors.

   IV.   PROPOSED RESOLUTION

         While Timber Hill respectfully submits that the Court should deny final

   approval on grounds of disparate treatment and inadequacy of representation, in the

   alternative, Timber Hill respectfully asks the Court to disapprove the Plan of

   Allocation unless it is modified to (1) permit all Class members to share pro rata in

   the Net Settlement Fund; (2) allow the Valeant Options Investors to recover their

   insider-trading losses pursuant to Exchange Act Section 20A; and (3) make the other

   procedural and administrative changes reflected in pages 11-12, 14, 25-28 of the

   attached redlined Plan of allocation. See McDonough, 80 F. Supp. 3d at 649



                                            22
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 28 of 30 PageID: 16401




   (revising plan of allocation to distribute settlement funds on a pro rata basis because

   there was “no evidentiary justification in the record” for disparate recoveries among

   subclasses); In re Initial Pub. Offering Sec. Litig., 226 F.R.D. 186, 201 (S.D.N.Y.

   2005) (conditioning approval of class action settlement on modification of bar

   order); see also In re WorldCom, Inc. Sec. Litig., 388 F. Supp. 2d 319, 322, 344-46,

   349 (S.D.N.Y. 2005) (granting final approval of settlement following modifications

   to proposed plan of allocation). A proposed order approving the Settlement with an

   appropriately modified plan of allocation is submitted herewith.

   V.    CONCLUSION

         Applying the heightened scrutiny required at this stage of final settlement

   review, the Court should deny final approval and settlement class certification

   pending substantive amendments to the Plan of Allocation to treat Valeant Options

   Investors equitably.

    Dated: May 6, 2020                       Respectfully submitted,

                                             /s/ Andrew J. Entwistle
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                                             23
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 29 of 30 PageID: 16402




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                                       24
Case 3:15-cv-07658-MAS-LHG Document 557 Filed 05/06/20 Page 30 of 30 PageID: 16403




                                  Certificate of Service

         The undersigned certifies that today he filed the foregoing objection and

   associated declaration on ECF which will send electronic notification to all attorneys

   registered for ECF-filing. The undersigned further certifies he caused to be served

   via USPS First Class Mail, postage prepaid, a copy of this Objection and associated

   declaration upon the following:

   Hon. Michael A. Shipp,
   U.S.District Court, District of New Jersey
   Clarkson S. Fisher Building
   and U.S. Courthouse
   402 East State Street
   Trenton, NJ 08608

   Hon. Dennis M. Cavanaugh, U.S.D.J. (ret.)
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   McElroy, Deutsch, Mulvaney & Carpenter LLP
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   Dated: May 6, 2020                            /s/ Andrew J. Entwistle
          New York, New York                     Andrew J. Entwistle




                                            25
